           Case 1:16-cr-00122-DAD-BAM Document 296 Filed 11/29/18 Page 1 of 2


     James H. Cesena
 1
     The Law Offices of James H. Cesena
 2   State Bar No. 76036
     171 South Anita Drive, Suite 101
 3   Orange, California 92868
 4   Telephone: (714) 744-3333
     Fax: (714) 744-4741
 5
     Attorney for Defendant,
 6   Jorge Celestino Alvarez-Arias
 7
 8                               IN THE UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                            Case No: 1:16-CR-00122 DAD BAM

11                  Plaintiff,                            AMENDED STIPULATION AND
12                                                        ORDER RE: CONTINUANCE OF
     vs.                                                  SENTENCING
13
14   JORGE CELESTINO ALVAREZ-ARIAS,
15
                    Defendant.
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17
             It is hereby stipulated by the undersigned parties that the current date of December 3,
18
     2018 set for sentencing should be vacated and continued to February 11, 2019 upon a showing of
19
20   good cause by Defense counsel JAMES H. CESENA. Good cause for the delay arises out of the

21   fact that Defense counsel JAMES H. CESENA was hospitalized for approximately one week in
22   the end of October 2018 and could not return to work for approximately one month pursuant to
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     the advice of his doctor.
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26   ///

27   ///
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           Case 1:16-cr-00122-DAD-BAM Document 296 Filed 11/29/18 Page 2 of 2



 1
             As a result of the aforementioned delay, Defense counsel JAMES H. CESENA has been
 2
     unable to work, and, therefore, has been unable to prepare a response to the probation report on
 3
 4   file in the above numbered case.

 5
      11/29/18                                            ___/s/ MELANIE L. ALSWORTH____
 6   Dated                                                MELANIE ALSWORTH
 7                                                        Assistant U.S. Attorney

 8
 9
10
      11/29/18                                            ___/s/ JAMES H. CESENA    __
11   Dated                                                 JAMES H. CESENA
12                                                         Attorneys for Defendant
                                                           JORGE CELESTINO ALVAREZ ARIAS
13
14
                                              ORDER
15
16          The court has reviewed and considered the stipulation of the parties to continue the
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     sentencing in this case. Good cause appearing, the sentencing hearing as to the above-named
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     defendant currently scheduled for December 3, 2018, is continued until February 11, 2019, at
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     10:00 a.m. in courtroom 5 before District Judge Dale A. Drozd.
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21   IT IS SO ORDERED.

22      Dated:     November 29, 2018
                                                       UNITED STATES DISTRICT JUDGE
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